 Case 2:12-md-02327 Document 425-1 Filed 03/05/13 Page 1 of 1 PageID #: 5032



                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION

In re: Ethicon, Inc.
Pelvic Repair System                                        MDL: 2327
Products Liability Litigation

This Document Relates To All Cases


                                           ORDER

        Pending is attorney Gregory J. Finney’s Motion to Withdraw as Counsel, filed March 5,

2013.   Mr. Finney seeks an order granting him leave to withdraw from all member actions in

which he has appeared in MDL 2327. It is ORDERED that Mr. Finney’s Motion is GRANTED.

The Clerk is instructed to terminate Mr. Finney where he appears as counsel for any party in this

MDL and in any member case in the MDL.

        The court DIRECTS the Clerk to file a copy of this order in 2:12-2327 and in each

member case in which Mr. Finney has appeared.


                                            ENTER: _____________________



                                             ____________________________________
                                             Presiding Judge
